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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

LILY ENGLEMAN,                      )
                                    )
                                    )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )        CIVIL ACTION FILE NO.
                                    )        1:22-cv-00903-MLB
WILLIAM CLAYTON NIX, JOHN           )
RICHEY, TOMEKIA JORDAN,             )
MIKE RILEY, and JONATHAN            )
ADAMS                               )
                                    )
                                    )
                                    )
     Defendant.                     )

              DEFENSES AND ANSWER OF MIKE RILEY

     Defendant Mike Riley files his Defenses and Answer to Plaintiff’s

Complaint, as follows:

                            FIRST DEFENSE

     Plaintiff’s Complaint fails to state a claim upon which relief may be

granted.




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                           SECOND DEFENSE

     Plaintiff has not been deprived of any right afforded by the

Constitution.

                            THIRD DEFENSE

     Plaintiff’s Complaint is barred by the applicable statute of limitation.

                           FOURTH DEFENSE

     Defendant Riley is entitled to qualified immunity.

                             FIFTH DEFENSE

     Defendant Riley cannot be liable pursuant to 42 U.S.C. § 1983 for any

action in which he did not directly participate or for any action of which he

had no knowledge.

                             SIXTH DEFENSE

     To the extent that Defendant Riley is sued in his official capacity,

Plaintiff’s claims are barred by sovereign immunity and Eleventh

Amendment immunity.

                           SEVENTH DEFENSE

     Defendant Riley did not proximately cause any injury to Plaintiff.




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                            EIGHTH DEFENSE

     To the extent that any Georgia state law claims are purportedly stated,

they are barred by official immunity under the Georgia Tort Claims Act.

     Defendant Riley objects to the unnumbered opening section of the

Complaint because it fails to comply with Fed. R. Civ. P. 10(b)’s requirement

that a plaintiff “must state [her] claims…in numbered paragraphs, each

limited as far as practicable to a single set of circumstances”. To the extent

that a response is required to the unnumbered paragraphs, Defendant Riley

admits that Tomekia Jordan was the Special Agent in Charge, Mike Riley

was the Acting Assistant Special Agent in Charge, William Clayton Nix was

the Director of the Office of Professional Standards, John Richey was the

Deputy Director of the Office of Professional Standards, and Jonathan

Adams was the District Attorney for the Towaliga Judicial Circuit.

Defendant Riley denies the remaining allegations in those unnumbered

paragraphs, and he denies that he violated Plaintiff’s constitutional rights.

     In response to the specific averments of Plaintiff’s Complaint,

Defendant Riley responds as follows:




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                      Parties, Jurisdiction and Venue

     1.    Defendant Riley can neither admit nor deny the averments of

Paragraph 1 for lack of sufficient information.

     2.    Defendant Riley admits that Defendant Jordan is an employee of

the Department of Corrections. The remaining averments are denied as pled.

     3.    Defendant Riley admits that he is an employee of the

Department of Corrections. The remaining averments are denied as pled.

     4.    Defendant Riley admits that Defendant Nix is an employee of

the Department of Corrections. The remaining averments are denied as pled.

     5.    Defendant Riley admits that Defendant Richey is an employee of

the Department of Corrections. The remaining averments are denied as pled.

     6.    Defendant Riley admits the Defendant Adams I the District

Attorney for the Towaliga Judicial Circuit. The remaining averments are

denied as pled.

     7.    Paragraph 7 asserts conclusions of law, and requires no response

from Defendant Riley.

     8.     Denied as pled.




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     9.     Defendant Riley can neither admit nor deny the averments of

Paragraph 9 for lack of sufficient information, but denies that venue is

proper as to him.

                                       Facts

     10.    Defendant Riley can neither admit nor deny the averments of

Paragraph 10 for lack of sufficient information.

     11.       Defendant Riley can neither admit nor deny the averments of

Paragraph 11 for lack of sufficient information.

     12.   Defendant Riley can neither admit nor deny the averments of

Paragraph 12 for lack of sufficient information.

     13.    Defendant Riley can neither admit nor deny the averments of

Paragraph 13 for lack of sufficient information.

     14.    Defendant Riley can neither admit nor deny the averments of

Paragraph 14 for lack of sufficient information.

     15.       Defendant Riley can neither admit nor deny the averments of

Paragraph 15, including subparts (a), (b), and (c), for lack of sufficient

information.

     16.    Defendant Riley can neither admit nor deny the averments of

Paragraph 16 for lack of sufficient information.

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     17.    Admitted.

     18.    Denied.

      19. Denied.

      20. Denied.

      21. Denied.

      22. Denied.

      23. Denied.

      24. Denied. Defendant Riley did not surreptitiously record meetings.

      25.   Denied. Defendant Riley did not surreptitiously record meetings.

      26.   Defendant Riley can neither admit nor deny the averments of

Paragraph 26 for lack of sufficient information, but he specifically denies that

he was involved in any such effort.

      27.     Defendant Riley can neither admit nor deny the averments of

Paragraph 27 for lack of sufficient information.

      28.     Defendant Riley denies that he had a copy of the Order.

      29.     Defendant Riley denies that the Order was violated.

      30.     Defendant Riley was not aware that the meeting was being

videotaped.




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      31.    Defendant Riley can neither admit nor deny the averments of

Paragraph 31 for lack of sufficient information.

      32.    Defendant Riley can neither admit nor deny the averments of

Paragraph 32 for lack of sufficient information.

      33.   Defendant Riley can neither admit nor deny the averments of

Paragraph 33 for lack of sufficient information.

      34. Paragraph 34 asserts conclusions of law, and requires no response

from Defendant Riley. To the extent that Defendant Riley is required to

answer, it is denied.

      35. Defendant Riley admits the averments of Paragraph 35, to the

extent that it accurately quotes the statute. Defendant Riley denies that he

violated any such privilege.

      36. Denied.

      37. Denied.

      38. Defendant Riley admits the averments of Paragraph 38 to the

extent that they are consistent with the Affidavit. Otherwise, they are denied.

      39. Defendant Riley admits the averments of Paragraph 39 to the

extent that they are consistent with the Affidavit. Otherwise, they are denied.




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     40.   Defendant Riley denies the averments of Paragraph 40 to the

extent they are inconsistent with the referenced document, and he denies as

pled any remaining averments.

     41.   Defendant Riley denies the averments of Paragraph 41 to the

extent they are inconsistent with the referenced document, and he denies as

pled any remaining averments.

     42.   Denied as pled.

     43.   Denied as pled.

     44.   Denied as pled.

     45.    Defendant Riley can neither admit nor deny the averments of

Paragraph 45 for lack of sufficient information, but specifically denies any

wrongdoing.

     46.    Defendant Riley can neither admit nor deny the averments of

Paragraph 46 for lack of sufficient information, but specifically denies any

wrongdoing.

     47. Denied.

     48.   Defendant Riley can neither admit nor deny the averments of

Paragraph 48 for lack of sufficient information.




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     49. Defendant Riley can neither admit nor deny the averments of

Paragraph 49 for lack of sufficient information.

     50. Defendant Riley can neither admit nor deny the averments of

Paragraph 50 for lack of sufficient information, but he denies the

characterization of what the video depicts.

     51. Defendant Riley can neither admit nor deny the averments of

Paragraph 51 for lack of sufficient information.

     52. Defendant Riley can neither admit nor deny the averments of

Paragraph 52 for lack of sufficient information.

     53. Defendant Riley can neither admit nor deny the averments of

Paragraph 53 for lack of sufficient information.

     54. Defendant Riley can neither admit nor deny the averments of

Paragraph 54 for lack of sufficient information.

     55. Defendant Riley can neither admit nor deny the averments of

Paragraph 55 for lack of sufficient information.

     56. Defendant Riley can neither admit nor deny the averments of

Paragraph 56 for lack of sufficient information.

     57. Denied.




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     58. Defendant Riley can neither admit nor deny the averments of

Paragraph 58 for lack of sufficient information.

     59. Defendant Riley can neither admit nor deny the averments of

Paragraph 59 for lack of sufficient information.

     60. Defendant Riley can neither admit nor deny the averments of

Paragraph 60 for lack of sufficient information.

     61. Denied as pled. Defendant Riley, who was Acting Special Agent in

Charge, was aware of the investigation.

     62. Defendant Riley does not recall whether he watched the video.

     63. Denied.

     64. Denied as pled. Defendant Riley admits that he was aware of the

investigation, and that Defendant Adkerson might attempt to secure an

arrest warrant.

     65. Denied as pled. Defendant Riley admits that he was aware of the

investigation, and that Defendant Adkerson might attempt to secure an

arrest warrant.

     66. Denied.

     67. Defendant Riley can neither admit nor deny the averments of

Paragraph 67 for lack of sufficient information.

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     68. Defendant Riley can neither admit nor deny the averments of

Paragraph 68 for lack of sufficient information.

     69. Denied.

     70. Defendant Riley can neither admit nor deny the averments of

Paragraph 70 for lack of sufficient information.

     71. Defendant Riley can neither admit nor deny the averments of

Paragraph 71 for lack of sufficient information.

     72. Defendant Riley can neither admit nor deny the averments of

Paragraph 72 for lack of sufficient information.

     73. Defendant Riley can neither admit nor deny the averments of

Paragraph 73 for lack of sufficient information.

     74. Defendant Riley can neither admit nor deny the averments of

Paragraph 74 for lack of sufficient information.

     75. Denied.

     76. Defendant Riley can neither admit nor deny the averments of

Paragraph 76 for lack of sufficient information.

     77. Defendant Riley can neither admit nor deny the averments of

Paragraph 77 for lack of sufficient information.




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     78. Defendant Riley can neither admit nor deny the averments of

Paragraph 78 for lack of sufficient information.

     79. Denied.

     80. Defendant Riley can neither admit nor deny the averments of

Paragraph 80 for lack of sufficient information.

     81. Defendant Riley can neither admit nor deny the averments of

Paragraph 81 for lack of sufficient information.

     82. Denied.

     83. Denied.

     84. Defendant Riley can neither admit nor deny the averments of

Paragraph 84 for lack of sufficient information.

     85. Defendant Riley can neither admit nor deny the averments of

Paragraph 85 for lack of sufficient information.

     86. Admitted.

     87. Defendant Riley can neither admit nor deny the averments of

Paragraph 87 for lack of sufficient information.

     88. Defendant Riley can neither admit nor deny the averments of

Paragraph 88 for lack of sufficient information.




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     89. Defendant Riley can neither admit nor deny the averments of

Paragraph 89 for lack of sufficient information.

     90. Defendant Riley can neither admit nor deny the averments of

Paragraph 90 for lack of sufficient information.

     91. Defendant Riley can neither admit nor deny the averments of

Paragraph 91 for lack of sufficient information.

     92. Defendant Riley can neither admit nor deny the averments of

Paragraph 92 for lack of sufficient information.

     93. Defendant Riley can neither admit nor deny the averments of

Paragraph 93 for lack of sufficient information.

     94. Defendant Riley can neither admit nor deny the averments of

Paragraph 94 for lack of sufficient information.

     95. Defendant Riley can neither admit nor deny the averments of

Paragraph 95 for lack of sufficient information.

     96. Defendant Riley can neither admit nor deny the averments of

Paragraph 96 for lack of sufficient information.

     97. Defendant Riley can neither admit nor deny the averments of

Paragraph 97 for lack of sufficient information.




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      98. Defendant Riley can neither admit nor deny the averments of

Paragraph 98 for lack of sufficient information.

      99. Defendant Riley can neither admit nor deny the averments of

Paragraph 99 for lack of sufficient information.

      100. Defendant Riley can neither admit nor deny the averments of

Paragraph 100 for lack of sufficient information.

      101. Defendant Riley can neither admit nor deny the averments of

Paragraph 101 for lack of sufficient information.

      102. Defendant Riley can neither admit nor deny the averments of

Paragraph 102 for lack of sufficient information.

      103. Defendant Riley denies that the charges were “false”. Defendant

Riley can neither admit nor deny the remaining averments of Paragraph 103

for lack of sufficient information.

      104. Defendant Riley can neither admit nor deny the averments of

Paragraph 104 for lack of sufficient information.

      105. Defendant Riley can neither admit nor deny the averments of

Paragraph 105 for lack of sufficient information.

      106. Defendant Riley can neither admit nor deny the averments of

Paragraph 106 for lack of sufficient information.

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      107. Defendant Riley denies that the charges were “fabricated”.

Defendant Riley can neither admit nor deny the remaining averments of

Paragraph 107 for lack of sufficient information.

      108. Denied.

                                    COUNT I

      109. Denied.

      110. Paragraph 110 contains conclusions of law which require no

response. Defendant Riley denies that he violated Plaintiff’s rights.

      111. Paragraph 111 contains conclusions of law which require no

response. Defendant Riley denies that he violated Plaintiff’s rights.

      112. Denied.

      113. Denied.

      114. Defendant Riley can neither admit nor deny the averments of

Paragraph 114 for lack of sufficient information.

      115. Denied.

      116. Denied.

      117. Denied.

      118. Defendant Riley can neither admit nor deny the averments of

Paragraph 118 for lack of sufficient information.

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     119. Denied.

     120. Defendant Riley admits that he was aware of the investigation,

but otherwise denies Paragraph 120. He can neither admit nor deny the

remaining averments of Paragraph 120 for lack of sufficient information.

     121. Defendant Riley admits that he was aware of the investigation,

but otherwise denies Paragraph 121. He can neither admit nor deny the

remaining averments of Paragraph 121 for lack of sufficient information.

     122. Defendant Riley admits that he was aware of the investigation,

but otherwise denies Paragraph 122. He can neither admit nor deny the

remaining averments of Paragraph 122 for lack of sufficient information.

     123. Denied.

     124. Denied.

     125. Denied.

     126. Denied.

     127. Denied.

     128. Denied.

                                  COUNT II

     129. Denied.

     130. Denied.

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      131. Denied.

      132. Denied.

      133. Any allegations in the Complaint not specifically admitted

herein are denied.

      WHEREFORE, Defendant Riley prays that this Court dismiss this

case with prejudice, casting all costs upon Plaintiff.



      This 27th day of May, 2022


 MCRAE BERTSCHI & COLE LLC                    /s/ Charles J. Cole
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                                              678.999.1105


                                              Counsel for Defendant Mike Riley


      Defendant Riley demands a trial by jury of twelve.




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

LILY ENGLEMAN,                        )
                                      )
     Plaintiff,                       )
                                      )
v.                                    )        CIVIL ACTION FILE
                                      )        NO. 1:22-cv-00903-MLB
WILLIAM CLAYTON NIX,                  )
JOHN RICHEY, TOMEKIA                  )
JORDAN, MIKE RILEY, and               )
JONATHAN ADAMS                        )
                                      )
                                      )
     Defendants.                      )


                       CERTIFICATE OF SERVICE
     I hereby certify that on the date listed below, I filed the foregoing

document in the captioned case using the Court’s ECF electronic filing

system, which will generate a Notice of Electronic Filing and which

constitutes sufficient service under Local Rule 5.1A(3).

     This 27th day of May, 2022.

                                               /s/ Charles J. Cole
                                               Charles J. Cole




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